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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                             x
ABERDEEN CITY COUNCIL AS                     :   Miscellaneous Civil Action No. 7:23-mc-00070
ADMINISTRATING AUTHORITY FOR                 :
THE NORTH EAST SCOTLAND PENSION :                DECLARATION OF MICHAEL G. CAPECI IN
FUND,                                        :   SUPPORT OF PLAINTIFF’S MOTION TO
                                             :   COMPEL BLOOMBERG L.P. TO PRODUCE
                             Plaintiff,      :   DOCUMENTS RESPONSIVE TO PLAINTIFF’S
                                             :   SUBPOENA
        vs.                                  :
                                             :
BLOOMBERG L.P.,                              :
                                             :
                             Defendant.
                                             :
                                             :
                                             :
(In re Under Armour Securities Litigation,
                                             :
Pending in the United States District Court,
                                             :
District of Maryland, Civil No. RDB-17-388)
                                             :
                                             x




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         I, MICHAEL G. CAPECI, declare as follows:

         1.         I am an attorney duly licensed to practice before all of the courts of the State of New

York. I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, Lead Counsel of

record for plaintiff Aberdeen City Council as Administrating Authority for the North East Scotland

Pension Fund in the above-entitled action. I have personal knowledge of the matters stated herein

and, if called upon, I could and would competently testify thereto.

         2.         Attached are true and correct copies of the following exhibits:

         Exhibit 1:        Subpoena to Produce Documents, Information, or Objects or to Permit
                           Inspection of Premises in a Civil Action to Bloomberg, L.P., dated January 4,
                           2023;

         Exhibit 2:        Affidavit of Service of Subpoena to Bloomberg L.P., dated January 10, 2023;

         Exhibit 3:        Excerpts from the Deposition Transcript of Kevin A. Plank, dated February
                           15, 2023 [under seal];

         Exhibit 4:        Khadeeja Safdar, Meet Under Armour CEO’s Unusual Advisor: An MSNBC
                           Anchor , Wall Street Journal, Feb. 21, 2019;

         Exhibit 5:        Consolidated Third Amended Complaint for Violations of the Federal
                           Securities Law, ECF 153, In re Under Armour Securities Litigation, No.
                           RDB-17-388 (Oct. 14, 2020);

         Exhibit 6:        Plank Deposition Ex. 31 (UA_00975721) [under seal];

         Exhibit 7:        Email chain dated January 1, 2026 (UA_00280474-UA_00280476) [under
                           seal];

         Exhibit 8:        Email chain dated January 11, 2016 (UA_01171477-UA_01171479) [under
                           seal];

         Exhibit 9:        Excerpts from the Deposition Transcript of Stephanie Ruhle Hubbard, dated
                           March 8, 2023 [under seal];

         Exhibit 10:       Ruhle Deposition Ex. 20 (UA_01173730-01173732) [under seal];

         Exhibit 11:       Dori Ann Hanswirth email chain, dated February 27, 2023;

         Exhibit 12:       Ruhle Deposition Exhibit 18 (UA_01173681) [under seal];


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         Exhibit 13:   Order Instituting Cease-and-Desist Proceedings Pursuant to Section 8A of the
                       Securities Act of 1933 and Section 21C of the Securities Exchange Act of
                       1934, Making Findings, and Imposing a Cease-and-Desist Order, In the
                       Matter of Under Armour, Inc., SEC Release No. 10940 (May 3, 2021);

         Exhibit 14:   Dickerson Deposition Ex. 14 (UA_01001772-UA_01001815) [under seal];

         Exhibit 15:   Ruhle Deposition Ex. 8 (UA_01171446-UA_01171447) [under seal];

         Exhibit 16:   Ruhle Deposition Ex. 10 (UA_01171481) [under seal];

         Exhibit 17:   Ruhle Deposition Ex. 12 (UA_01171485 [under seal];

         Exhibit 18:   Email chain dated January 11, 2016 (UA_01171451-UA_01171454) [under
                       seal];

         Exhibit 19:   Email chain dated January 11, 2016 (UA_01171466-UA_01171469) [under
                       seal];

         Exhibit 20:   Ruhle Deposition Ex. 15 (UA_01171674-UA_01171675) [under seal];

         Exhibit 21:   Email chain dated January 12, 2016 (UA_01171657) [under seal];

         Exhibit 22:   Ruhle Deposition Ex. 16 (UA_01172385-UA_01172386) [under seal];

         Exhibit 23:   Ruhle Deposition Ex. 19 (UA_01173745-UA_01173747) [under seal];

         Exhibit 24:   Under Armour PowerPoint (UA_00223911-UA_00223913) [under seal];

         Exhibit 25:   Email chain dated January 28, 2016 (UA_01173684-UA_01173686) [under
                       seal];

         Exhibit 26:   Email chain dated January 28, 2016 (UA_01173682-UA_0117-3683) [under
                       seal];

         Exhibit 27:   Email chain dated January 29, 2016 (UA_01173734-UA_01173736) [under
                       seal];

         Exhibit 28:   Ruhle Deposition Ex. 3 (UA_01151630-UA_01151631) [under seal];

         Exhibit 29:   Email chain dated April 21, 205 (UA_01154488) [under seal];

         Exhibit 30:   Ruhle Deposition Ex. 7 (UA_01155627-UA_01155628) [under seal];

         Exhibit 31:   Email chain dated October 13, 2015 (UA_01162774-UA_01162777) [under
                       seal];

         Exhibit 32:   Plank Deposition Ex. 4 (KP00004721-KP00004728) [under seal];

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         Exhibit 33:   Mirchin Deposition Ex. 48 (UA_00308191-UA_00308192) [under seal];

         Exhibit 34:   Voice recording attachment to Mirchin Deposition Ex. 48 (UA_00308192)
                       [under seal];

         Exhibit 35:   Ruhle Deposition Ex. 24 (UA_01200171-UA_01200174) [under seal];

         Exhibit 36:   Email chain dated October 24, 2016 (UA_01215249, UA_01215259) [under
                       seal];

         Exhibit 37:   Ruhle Deposition Ex. 37 (UA_01154490) [under seal]; and

         Exhibit 38:   Matthew Winkler, The Bloomberg Way: A Guide for Reporters and Editors
                       91 (John Wiley & Sons, Inc. 2014).

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 15th day of March, 2023, at Melville, New York.


                                                             s/ Michael G. Capeci
                                                            MICHAEL G. CAPECI




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